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                     Exhibit A
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                       Courtroom Number: No hearing scheduled
                       Location: No hearing scheduled                                                            FILED
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                                                                                                                 COOK COUNTY, IL
FILED DATE: 10/4/2018 11:47 AM 2018CH12302




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